

Sanchez v MJ-MC Home Health Care Agency, Inc. (2021 NY Slip Op 02883)





Sanchez v MJ-MC Home Health Care Agency, Inc.


2021 NY Slip Op 02883


Decided on May 06, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 06, 2021

Before: Renwick, J.P., Kapnick, Singh, Kennedy, JJ. 


Index No. 160461/18 Appeal No. 13770 Case No. 2020-02562 

[*1]Ketevan Sanchez, Individually and on Behalf of all other Persons Similarly Situated who were employed by MJ-MC Home Health Care Agency, Inc., etc., Plaintiff-Respondent,
vMJ-MC Home Health Care Agency, Inc., etc., Defendant-Appellant.


Bond, Schoeneck &amp; King PLLC, New York (Gregory B. Reilly of counsel), for appellant.
Virginia &amp; Ambinder, LLP, New York (LaDonna M. Lusher of counsel), for respondent.



Appeal from decision, Supreme Court, New York County (James E. D'Auguste, J.), entered March 6, 2020, which granted plaintiff's motion to consolidate this action with an action from the Kings County Supreme Court, Abdujamilova v MJ-MC HomeHealth Care Agency, Inc., Kings County Supreme Court Index No. 5225686/2016, unanimously dismissed, without costs, as taken from a nonappealable paper.
The lack of an appealable paper deprives this Court of jurisdiction and requires
dismissal of the appeal (see Spectrum News NY1 v New York City Police Dept., 179 AD3d 578, 579 [1st Dept 2020]; Leser v Penido, 96 AD3d 578 [1st Dept 2012]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 6, 2021








